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4                                                                                   E-FILED: 12/01/2016
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8                          .IN     THE UNITED STATES DISTRICT COURT FOR THE
9                                                CENTRAL DISTRICT OF CALIFORNIA
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11
      DAVID GEMINA, individually and                                      Case No.: 5:16-cv-00262-PSG-DTB
12    on behalf of all others similarly
13
      situated,                                                          [PROPOSED] ORDER GRANTING
                                                                         STIPULATION TO DISMISS WITH
14
      Plaintiff,                                                         PREJUDICE PURSUANT TO FRCP
15                                                                       41(a)(1)(A)(ii)
                  vs.
16

17    ESTATE INFORMATION
18
      SERVICES, INC.; DOES 1-100, AND
      EACH OF THEM.
19

20    Defendant(s)
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23                The Court has reviewed the Stipulation to Dismiss of Plaintiff DAVID
24   GEMINA and Defendant ESTATE INFORMATION SERVICES, INC. Good
25   cause appearing, the Court grants the parties’ Stipulation to Dismiss Plaintiff’s
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     individual claim, with prejudice, and to dismiss without prejudice the putative class
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     action claims asserted by Plaintiff pursuant to FRCP 41(a)(1)(A)(ii), with each
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     party to bear their respective attorneys’ fees and costs.
      {Gemina [Proposed] Order re Dismissal;1}


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                                                   [PROPOSED] ORDER GRANTING STIPULATION TO DISMISS
                                                             CASE NO. 5:16-cv-00262-PSG-DTB
     Case 5:16-cv-00262-PSG-DTB Document 25 Filed 12/01/16 Page 2 of 2 Page ID #:95




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                   IT IS SO ORDERED.

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3     Dated:              11/30/16

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                                                                    Honorable Philip S. Gutierrez
                                                                    UNITED STATES DISTRICT JUDGE
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      {Gemina [Proposed] Order re Dismissal;1}


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                                                 [PROPOSED] ORDER GRANTING STIPULATION TO DISMISS
                                                           CASE NO. 5:16-cv-00262-PSG-DTB
